          Case 2:09-cr-00422-TLN Document 194 Filed 03/30/12 Page 1 of 2


 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   428 J Street, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   THOMAS KEYS
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,
                                                        Case No. 09-CR-0422-03 WBS
11                  Plaintiff,

12   v.
                                                        STIPULATION AND [PROPOSED] ORDER
13                                                      TO DISMISS PETITION RE VIOLATION OF
     THOMAS KEYS,                                       PROBATION AND VACATE HEARING
14
                    Defendant.
15
16
17
18                                              STIPULATION
19           On January 30, 2012, Mr. Keys appeared before the Honorable William B. Shubb for initial
20   appearance on a petition regarding violation of his probation, filed by his probation officer, Garey
21   White. By the time of the initial appearance Mr. Keys had come into full compliance with his
22   probation conditions and Mr. White indicated that it was his request that the matter be continued to
23   allow Mr. Keys to demonstrate continued compliance for a longer period of time. Hence, at this
24   initial appearance the parties asked that the case be continued for admit/deny hearing on April 2,
25   2012, with the understanding that, if Mr. Keys remained fully compliant with his probation
26   conditions until that date the petition would be dismissed and the admit/deny hearing vacated.
27           Mr. White reports that Mr. Keys has been fully compliant with the conditions of his
28   probation and, based on his good conduct and continued compliance, he has no opposition to
     dismissal of the petition. Assistant United States Attorney Jean Hobler likewise concurs with this
        Case 2:09-cr-00422-TLN Document 194 Filed 03/30/12 Page 2 of 2


 1   action, and moves to dismiss the petition. The parties thus stipulate that the petition be dismissed
 2   and the admit/deny hearing of April 2, 2012 be vacated. The court is advised that Ms. Hobler has
 3   authorized Ms. Radekin to sign this stipulation on her behalf.
 4          Accordingly, the parties respectfully request that the Court adopt the proposed stipulation.
 5   IT IS SO STIPULATED
 6
     Dated: March 30, 2012                                   BENJAMIN WAGNER
 7                                                           United States Attorney
 8                                                    By:           /s/ Jean Hobler
                                                             JEAN M. HOBLER
 9                                                           Assistant United States Attorney
10
     Dated: March 30, 2012                                         /s/ Erin J. Radekin
11                                                           ERIN J. RADEKIN
                                                             Attorney for Defendant
12                                                           THOMAS KEYS
13
                                                    ORDER
14
            Good cause appearing and for the reasons stated in the stipulation of the parties, and on the
15
     basis of the Government’s motion to dismiss the petition, the petition re violation of probation is
16
     hereby DISMISSED and the admit/deny hearing of April 2, 2012 at 9:30 a.m. is hereby VACATED.
17
     IT IS SO ORDERED.
18
     Dated: March 30, 2012
19
20
21
22
23
24
25
26
27
28


                                                       -2-
